
*902ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, Michael R. Bark, Louisiana Bar Roll number 24014, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court.
IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately-
/s/ John L. Weimer
Justice, Supreme Court of Louisiana
